                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                             3:07-CR-00108-RJC
 USA                                          )
                                              )
    v.                                        )               ORDER
                                              )
 ANTEDIOUS STOWE (1)                          )
                                              )

         THIS MATTER is before the Court on the defendant’s pro se motion for a

sentence reduction under the First Step Act. (Doc. No. 174).

         The defendant is currently represented by counsel. (Doc. No. 175: Notice of

Appearance). Local Criminal Rule 47.1(g) requires motions to be filed by counsel

unless a defendant has formally waived his right to counsel before a judicial officer.

         IT IS, THEREFORE, ORDERED, that the defendant’s pro se motion is

DENIED.

         The Clerk is directed to certify copies of this order to the defendant, counsel

for the defendant, and to the United States Attorney.

 Signed: September 25, 2020




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